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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
NIKOLAOS TELEMACHOS             :                Civil No. 1:24-CV-00407
MORFESSIS, in his own right and as
                                :
personal representative of the estate of
                                :
Nikole Cynthia Morfessis, and   :
KATHLEEN JANE STINE             :
                                :
         Plaintiffs,            :
                                :
         v.                     :
                                :
ALRO STEEL CORPORATION, et al., :
                                :
         Defendants.            :                Judge Jennifer P. Wilson

                                 MEMORANDUM

      Before the court is a motion to dismiss for failure to state a claim filed by

Defendants Ryder Integrated Logistics, Inc., Alro Steel Corporation, and Michael

Daniel Colon (collectively “Defendants”). (Doc. 45.) Defendants argue that the

second amended complaint filed by Plaintiffs Nikolaos Telemachos Morfessis and

Kathleen Jane Stine (collectively, “Plaintiffs”) should be dismissed because it

improperly alleges a heightened standard of care which is inconsistent with

Maryland law and Defendant Colon is not liable as a matter of law. (Doc. 46.) For

the reasons that follow, the motion to dismiss will be denied.

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      This case involves the death of fifteen-year-old Nikole Morfessis after she

was struck by a tractor trailer in Frederick, Maryland. (Doc. 44, ¶ 4.) Plaintiffs

Nikolaos Telemachos Morfessis and Kathleen Jane Stein are the natural parents of
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Nikole. (Id. ¶ 2.) On April 22, 2022, Nikole was walking along the shoulder of

northbound Route 194 when she was struck by a tractor trailer, operated by

Defendant Colon, as she was attempting to cross Route 194. (Id. ¶¶ 4, 38, 42.)

Defendant Colon was employed by Defendant Ryder, a contractor who provided

drivers and vehicles to Defendant Alro Steel Corporation. (Id. ¶¶ 8, 9, 16.) On

April 22, 2022, Colon was “haul[ing] Alro’s products from York, PA to Alro’s

customer in Westminster, Maryland.” (Id. ¶¶ 19, 21.)

      Route 194 “is a two-lane undivided highway except where additional lanes

are provided for vehicles to turn onto intersecting roads[.]” (Id. ¶ 23.) The speed

limit is fifty miles per hour. (Id. ¶ 22.) There is no sidewalk alongside Route 194,

but there is a bicycle lane. (Id. ¶ 24.) There are three “bright yellow/florescent

green school zone signs” along northbound Route 194, because there are two

public school on the west side of the road. (Id. ¶¶ 25, 27.) Directly across from

the two schools, there is “a residential community of single-family homes.” (Id. ¶

28.) At the time of the collision, “[a] pick-up truck hauling a landscaping

trailer . . . was stopped in the left-turn lane of Northbound Route 194 dedicated to

vehicles attempting to turn west on West Frederick Street.” (Id. ¶ 37.)

      From the shoulder, “Nikole entered the northbound lane of Route 194 just

past the stopping point for the [pick-up truck] in the left turn lane for West

Frederick Street[,]” and was “approximately four feet inside the northbound lane of


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Route 194 when she was fatally stuck by [defendant’s truck] within the posted

school zone.” (Id. ¶ 43.) At the time, Colon’s truck was travelling at

“approximately 45 miles per hour[,]” and he drove past all three school zone

warning signs “without reducing the speed of the truck.” (Id. ¶ 45.) Plaintiffs

allege that their “allegations refer to meaningful changes in speed that would have

satisfied Colon’s heightened duty of care while driving through a posted school

zone.” (Id. ¶¶ 45, n.6; 4,6 n.7)(emphasis in original). Plaintiffs further allege that

Colon “did not increase his caution or take any action to prepare for a child

pedestrian” despite driving past three school zone warning signs, seeing the

elementary and high school buildings, residential community, or child walking on

the shoulder next to his traffic lane, as well as seeing Nikole look across his path of

traffic. (Id. ¶¶ 47–52.) Plaintiffs also acknowledge that “Colon did not have a

clear and safe means to evade Nikole if she attempted to cross his path because the

turning vehicle precluded Colon from moving the truck to the left to avoid

Nikole.” (Id. ¶ 53.) Further, Plaintiffs allege “Colon drove the truck towards the

turning truck and Nikole with only one hand on the steering wheel and near the

maximum speed limit . . .” despite three school zone warning signs, seeing Nikole

walking on the shoulder with her back turned to him and then looking across his

lane of traffic, as well as the presence of a vehicle in the turning lane which

prevented Colon from diverting his path to avoid Nikole. (Id. ¶ 55.)


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      Plaintiffs allege that Colon “had a duty to drive the truck in a safe,

reasonable and prudent manner consistent with posted cautionary warnings,

vehicular traffic, and the presence of a child pedestrian (Nikole) as he drove the

truck on the public roads[.]” (Id. ¶ 57.) In order to fulfill this duty, Plaintiffs

allege, Colon was required to slow the truck after seeing the school zone warnings,

two adjacent schools, residential neighborhood, child pedestrian walking next to

traffic and looking across the path of traffic and seeing a vehicle blocking any

ability to avoid Nikole. (Id. ¶ 58(1)–(4).) Further, Plaintiffs allege Colon was

required to sound his horn, flash his lights, or both, pay full attention while driving,

and otherwise use due care in the operation of the truck. (Id. ¶ 58 (5)–(7).)

Plaintiffs allege that Nikole’s injuries, death, extreme fright, fear, and pain were

proximately caused by Colon’s negligent acts. (Id. ¶¶ 59–63.)

      Count 1 alleges a wrongful death action under Md. Code, Courts Art. § 3-

904. (Id. ¶ 65.) Count 2 alleges a survival action pursuant to Md. Code, Courts

Art. § 6-401. (Id. ¶ 72.)

      Plaintiffs filed their original complaint in York County, Pennsylvania, which

Defendants removed to this court on March 7, 2024. (Doc. 1.) Plaintiffs filed a

second amended complaint, adding Defendant Ryder, on April 15, 2024. (Doc.

10.) Defendants filed a motion to transfer for forum non-conveniens on August 2,

2024. (Doc. 30.) Defendants also filed a motion to dismiss the original complaint


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arguing Plaintiffs lacked standing to bring the case and that Maryland law applied

to the instant action and should be tried in Maryland. (Doc. 32.) After both

motions were fully briefed, on November 7, 2024, the court denied the motion to

transfer and denied in part and granted in part the motion to dismiss. (Doc. 43.)

Specifically, the court decided that Maryland law applied to this action and gave

Plaintiffs leave to amend their complaint to plead causes of action under Maryland

law. (Doc. 42.) Plaintiffs did so on November 20, 2024. (Doc. 44.)

       On December 11, 2024, Defendants filed the instant motion to dismiss.

(Doc. 45.) Defendants filed their brief in support on December 26, 2024. (Doc.

46.) Plaintiffs filed their brief in opposition on January 16, 2025. (Doc. 49.)

Defendants did not file a reply brief. Thus, the motion to dismiss is ripe and ready

for disposition.

                                 JURISDICTION AND VENUE

       This is a diversity action, and the court has subject matter jurisdiction under

28 U.S.C. § 1332 because all plaintiffs are diverse from all defendants and the

amount in controversy exceeds $75,000.1 Venue is proper in this court under 28

U.S.C § 1441(a).2


1
 Plaintiffs are citizens of Maryland, Alro is incorporated in Michigan with a principal place of
business in Michigan, Ryder is incorporated in Delaware with a principal place of business in
Florida, and Colon is a citizen of Pennsylvania.
2
 At the time this action was removed from the York County Court of Common Pleas, Defendant
Colon not had yet been served. 28 U.S.C. § 1441(b)(2).
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                                    STANDARD OF REVIEW

         In order “[t]o survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible on its face “when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (quoting

Twombly, 550 U.S. at 556). “Conclusory allegations of liability are insufficient” to

survive a motion to dismiss. Garrett v. Wexford Health, 938 F.3d 69, 92 (3d Cir.

2019) (quoting Iqbal, 556 U.S. at 678–79). To determine whether a complaint

survives a motion to dismiss, a court identifies “the elements a plaintiff must plead

to state a claim for relief,” disregards the allegations “that are no more than

conclusions and thus not entitled to the assumption of truth,” and determines

whether the remaining factual allegations “plausibly give rise to an entitlement to

relief.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012).

                                          DISCUSSION

         Defendants make two arguments in support of their motion to dismiss. First,

Defendants argue Colon did not owe a “heightened” duty of care to Nikole

Morfessis. (Doc. 46, p. 7.)3 Second, Defendants argue that Colon is not liable


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    For ease of reference, the court uses the page numbers contained in the CM/ECF header.
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under Maryland law’s “dart-out” line of cases which holds that defendants are not

liable for injuries caused by an automobile accident when a child “darts out in front

of an approaching automobile when the driver is traveling at a reasonable rate of

speed and obeying the rules of the road, so that with the exercise of ordinary care

he is unable to avoid running into the child[.]” (Id. at 10)(citing Cocco v. Lissau,

202 Md. 196, 202 (1953)). The court will address each argument in turn.

      A. Whether Colon Owed a “Heightened” Duty of Care

      Defendants first argue that Plaintiffs have alleged that Colon owes a

heightened duty of care, despite Maryland law only requiring a “heightened” duty

of care from common carriers. (Id. at 8.) Defendants argue Colon only owed an

“ordinary” duty of care and asks the court to either “dismiss the Second Amended

Complaint or strike the reference to ‘heightened’ duty of care, because it is a

misstatement of the applicable duty under Maryland law.” (Id. at 9.)

      In response, Plaintiffs outline in detail the evolution of Maryland law

regarding a driver’s duty of care with respect to pedestrians and, specifically, child

pedestrians. (Doc. 49, pp. 6–16.) Plaintiffs begin with the Maryland common law

principle that “motorists and pedestrians owe[ ] an equal, reciprocal duty of care to

each other except to the extent that a statute allocated the right of way under a

particular circumstance.” (Id. at 6.)(citing Universal Credit Co. v. Merryman, 195

A. 689 (Md. 1937)). However, Maryland common law also “imposed on motorists


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a greater duty of care for the safety of child pedestrians because they do not have

the same ability as adults to protect themselves from injury.” (Id.)(citing Abbott v.

Railway Express Agency, 108 F.2d 671, 672 (1940)). Plaintiffs note that

“Maryland appellate decisions are replete with declarations that motorists owe a

greater duty of care when they traverse an area where children may enter the

road.” (Id. at 7)(citing Heffner v. Admiral Taxi Svc., 77 A.2d 127, 470–1 (Md.

1950); Alina v. Raschka, 225 A.2d 76, 78–79 (Md. 1969); Dorough v. Lochman,

167 A.2d 129, 131 (Md. 1961); Faulkner v. Cummings, 261 A.2d 468, 556 (Md.

1070)). Plaintiffs explain that the rationale for these decisions is “based on [the]

judicial recognition that children do not exercise the same degree of care for their

personal safety as an adult because children are impulsive, lack experience with

vehicles, and lack knowledge of the rules of the road.” (Id. at 8)(citing Miller v.

Graff, 78 A.2d 220, 222–24 (Md. 1951); State for Use of Taylor v. Barlly, 140

A.2d 173, 176–77 (Md. 1958)).

      Plaintiffs also track the evolution of Maryland statutory law, which was

amended in 1977 to require drivers to “sound his horn to warn a pedestrian who is

near, but not within, the lanes of vehicle travel, such as the shoulder of the road, in

order to prevent the pedestrian from entering the motorist’s path.” (Id. at

11.)(citing MD. CODE, Transp. § 21-504(b)). Based on § 21-504, Plaintiffs argue

that Colon was under a duty to take precautions and “a duty to take affirmative


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action for the safety of a child pedestrian.” (Id. at 12)(emphasis in original). In

sum, Plaintiffs argue “Maryland’s statutory regulations comprising TR

[transportation article] § 21-504 supplant Maryland’s common law approach of

treating pedestrians as having an equal responsibility to avoid vehicle-pedestrian

collisions.” (Id. at 13.) As such, Plaintiffs argue that the duty of care they have

pleaded in their second amended complaint is consistent with Maryland law.

      In addition to the thorough discussion of case law provided by Plaintiffs, the

court notes, generally, under Maryland law, “[i]n the absence of statutory

regulation, the right of motorists and pedestrians on public highways are

reciprocal.” Heffner v. Admiral Taxi Svc., 77 A.2d 127, 129 (Md. 1950). Further,

“[i]t is the duty of the pedestrian to use reasonable care in walking on a street, and

to act as an ordinarily careful person would act under similar circumstances.” Id.

However, “the driver of a motor vehicle is required to exercise much greater

vigilance and caution to look out for the pedestrian than the pedestrian is required

to exercise to look out for the driver.” Id.

      Additionally, “while ordinary care is required of the driver of a motor

vehicle, the vigilance must vary according to the danger naturally anticipated from

the operation of the vehicle.” Id. In furtherance of this principle, a driver “must

exercise greater caution to avoid harming a child.” Brantner v. Watkins, 177 A.2d

873, 876 (Md. 1962). There are two scenarios in which the generality that a driver


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must exercise greater caution around children gives way. First, is the situation

“where the child is in a place of imminent or potential danger and a driver is

operating at an excessive speed or violating other rules of the road[.]” Id. In this

scenario, a driver “cannot escape liability by saying that the child ran in front of

the car so suddenly that the accident was unavoidable. Lenehan v. Nicholson, 135

A.2d 447, 419 (Md. 1957). The second scenario is the reverse, such that a driver

will not be liable “[i]f a child darts out in front of an approaching automobile when

the driver is going at a reasonable rate of speed and obeying the rules of the road,

so that even with the exercise of due diligence he is unable to avoid running into

the child[.]” Id.

      Here, the court does not view Plaintiffs’ allegations as placing a

“heightened” duty on Colon, rather Plaintiffs are alleging what they believe is the

appropriate care that a reasonable person should have undertaken in the

circumstances presented to Colon. Plaintiffs, thus, have alleged that Colon

violated the duty provided by Maryland statutes which provide that drivers are

under certain duties when there are pedestrians, such as “exercis[ing] due care to

avoid colliding with any pedestrian[;] warn[ing] any pedestrian by sounding the

horn of the vehicle[;] [as well as] exercis[ing] proper precaution on observing any

child or any obviously confused or incapacitated individual.” MD. CODE, Transp. §

21-504. Therefore, the second amended complaint will not be dismissed for


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pleading a “heightened” duty of care. Rather, Plaintiffs have pleaded the

circumstances of this particular incident, and what they contend Defendants’ duty

is under those circumstances.4 Therefore, the motion to dismiss will be denied on

this basis.

       B. Whether Colon is Liable Under the “Dart-Out” Line of Cases

       Defendants also argue that Colon is not liable because this is a “dart-out”

case, and “Colon did not breach any duty of ordinary care to Nikole Morfessis.”

(Id. at 10–11). Defendants rely on Cocco v. Lissau, 95 A.2d 857 (Md. 1953) and

Lenehan v. Nicholson, 135 A.2d 447 (Md. 1957) for the principle that:

       if a child darts out in front of an approaching automobile when the
       driver is traveling at a reasonable rate of speed and obeying the rules of
       the road, so that with the exercise of ordinary care he is unable to avoid
       running into the child, he is not liable for any injuries the child may
       sustain.

Cocco, 95 A.2d at 860. In Cocco, the Supreme Court of Maryland held that the

driver was not liable when a child “ran or walked blindly into the path of the

automobile when it was so near that the only possible inference is that, although

defendant was driving in the center of the road, the accident could not have been

avoided by him, even if he had seen the child.” Id. Similarly, in Lenehan, a driver

was held not liable for injuries to a boy who ran into the middle of the road


4
  To the extent that Plaintiffs suggest the court may certify the question of the impact of “§21-
504(c) on the standard of care imposed on motorists and their right to assert contributory
negligence to defeat a claim brought on behalf of a child pedestrian[,]” the court declines the
request. (Doc. 49, pp. 15, 16)
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because “[f]rom all the evidence the driver was exercising reasonable care when

Jimmy crossed the road directly in front of him. He was doing what any

reasonable person would have done under the circumstances.” Lenehan, 135 A.2d

at 451.

      Defendants argue that Colon did not breach any duty of ordinary care

because Nikole was approximately four feet into the lane when she was struck,

Colon was driving within the speed limit, and there was no safe means to evade

Nikole. (Doc. 46, pp. 11, 12.)

      In response, Plaintiffs distinguish both Cocco and Lenehan on their facts,

arguing that in both cases “the motorists were driving at reasonable speeds and

otherwise obeying traffic laws with no reason to anticipate the child would

suddenly cross the motorist’s path.” (Doc. 49, p. 15 n.9; 18.) Here, by contrast,

Colon was “aware Nikole was near his lane of traffic and had reason to anticipate

that she may cross his path.” (Id.) Further, Plaintiffs argue they have alleged “a

duty on the part of Colon to exercise ordinary care in the operation of the truck-

trailer when he entered the school zone and observed Nikole near his path at an

intersection[;]” actions and omissions by Colon which breached said duty, and that

Colon’s acts and omissions were the proximate cause of Plaintiffs injury and

damages. (Id. at 17.)




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      Plaintiffs have alleged sufficient facts to state a claim for negligence at this

juncture. To plead a claim for negligence, “a plaintiff must prove the existence of:

(a) a duty owed by the defendant to the plaintiff, (b) a breach of that duty, and (c)

injury proximately resulting from that breach.” Barclay v. Briscoe, 47 A.3d 560,

574 (Md. 2012). Duty is defined as “an obligation, to which the law will give

recognition and effect, to conform to a particular standard of conduct toward

another.” Doe v. Pharmacia & Upjohn Co., 879 A.2d 1088, 1092 (Md. 2005).

      As noted by Plaintiffs, both Cocco and Lenehan are distinguishable from

this case. Here, there are no allegations that Nikole darted out into the oncoming

traffic such that Colon could not avoid a collision even if he had exercised due

diligence. Rather, it is alleged that Colon could see Nikole walking ahead of him

on the shoulder. (Doc. 44, ¶ 50.) It is not alleged how long he could see her, but it

is alleged that Colon saw Nikole “looking across his path in the direction of West

Frederick Street.” (Id. ¶ 52.) It is also alleged that Colon drove past three

florescent green or yellow school zone warning signs as well as elementary and

high school buildings and residential communities. (Id. ¶¶ 46–49.) The facts, as

pleaded, are sufficient to state a claim for negligence. It is not apparent from the

second amended complaint that Nikole darted out into the street such that Colon

could not avoid colliding with her. As alleged by Plaintiffs, Colon was not driving

at a reasonable speed under the circumstances, nor following applicable laws, such


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as § 21-504 or the school zone warning signs. Further, it is sufficiently alleged that

Nikole’s injuries were proximately caused by Colon’s negligent acts, as outlined

by Plaintiff. Therefore, at this stage, Plaintiffs have sufficiently pleaded their

negligence claim. Accordingly, the motion to dismiss will be denied.

                                    CONCLUSION

      The motion to dismiss is denied. An order follows.

                                                s/Jennifer P. Wilson
                                                JENNIFER P. WILSON
                                                United States District Judge
                                                Middle District of Pennsylvania

      Dated: May 12, 2025




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